Case 18-19054-JNP           Doc 48     Filed 05/07/18 Entered 05/07/18 17:23:46                   Desc Main
                                      Document      Page 1 of 15



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1
PORZIO, BROMBERG & NEWMAN, P.C.
100 Southgate Parkway
P.O. Box 1997
Morristown, New Jersey 07962
(973) 538-4006
(973) 538-5146 Facsimile
Warren J. Martin Jr., Esq. (wjmartin@pbnlaw.com)
Kelly D. Curtin, Esq. (kdcurtin@pbnlaw.com)
Rachel A. Parisi, Esq. (raparisi@pbnlaw.com)
Proposed Counsel to Debtors
                                                                Case No.: 18-19054 (JNP)
In Re:
                                                                (Jointly Administered)
                                                            1
Garces Restaurant Group, Inc., d/b/a Garces Group, et al.,
                                                                Chapter: 11
                         Debtors.
                                                                Hearing Date and Time:
                                                                May _____, 2018, at ___:___ __.m.

          DEBTORS' MOTION FOR AN ORDER APPROVING DEBTORS'
          KEY EMPLOYEE INCENTIVE PROGRAM AND AUTHORIZING,
          BUT NOT DIRECTING PAYMENTS THEREUNDER

          Garces Restaurant Group, Inc., d/b/a Garces Group., et al., (the "Debtors"), submit this

motion (the "Motion") for entry of an order approving the Debtors' key employee incentive

program for certain employees (the "KEIP") and authorizing the payments contemplated

thereunder. In support of this Motion, the Debtors rely on the Affidavit of Jose Garces in

Support of the Debtors' Chapter 11 Petition And First Day Motions (the "Garces Affidavit") [Dkt.




1
  The Debtors in these cases and the last four digits of their employee identification numbers are: GRGAC1, LLC
d/b/a Amada (7047); GRGAC2, LLC d/b/a Village Whiskey (7079); GRGAC3, LLC d/b/a Distrito Cantina (7109);
GRGAC4, LLC (0542); Garces Restaurant Group, Inc. d/b/a Garces Group (0697); Latin Valley 2130, LLC; La
Casa Culinary, LLC d/b/a Amada Restaurant (4127); Garces Catering 300, LLC d/b/a Garces Catering (3791); Latin
Quarter Concepts, LLC d/b/a Tinto d/b/a Village Whiskey (0067); UrbanFarm, LLC d/b/a JG Domestic (3014);
GR300, LLC d/b/a Volver (0347); GRG2401, LLC (7222); GRGChubb1, LLC (8350); GRGFC1, LLC (2040);
GRGKC1, LLC; GRGWildwood, LLC (9683); and GRGNY2, LLC (0475).


3939735
Case 18-19054-JNP           Doc 48      Filed 05/07/18 Entered 05/07/18 17:23:46                    Desc Main
                                       Document      Page 2 of 15



No. 2]2 and the Certification of John Fioretti (the "Fioretti Certification") filed concurrently

herewith, and respectfully represent and set forth as follows:

                                             JURISDICTION

          1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

          2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.     The statutory predicates for the relief sought herein are sections 363(b) and 503(b)

of the Bankruptcy Code and Rule 6004 of the Federal Rules of Bankruptcy Procedure (the

"Bankruptcy Rules").

                                             BACKGROUND

          4.     On the May 2, 2018 (the "Petition Date"), the Debtors each filed a voluntary

petition for relief pursuant to chapter 11 of the Bankruptcy Code in the United States Bankruptcy

Court for the District of New Jersey (the "Court").

          5.     The Debtors continue to operate their business and manage their property as

debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

for the appointment of a trustee or examiner has been made and, as of the date of the filing of the

Motion, no official committees have been appointed or designated.

          6.     A detailed description of the Debtors' business and the facts precipitating the filing

of the Debtors' chapter 11 cases is set forth in the Garces Affidavit, which is incorporated by

reference.

    A. The Debtors' Business

          7.     Since opening Amada as their first restaurant in 2005, the Debtors and related

2
  Docket numbers referenced herein shall refer to docket numbers in Case No. 18-19054 (JNP) unless otherwise
stated.
                                                       2

3939735
Case 18-19054-JNP         Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46           Desc Main
                                   Document      Page 3 of 15



entities have grown to over $40 million in revenue, approximately 750 employees, and operate in

three business segments: catering, managed services, and owned restaurants.            See Garces

Affidavit at ¶¶5-7.

          8.    Most of the Debtors' general managers started in hourly or mid-level positions

and were promoted from within. See Garces Affidavit at ¶7. Similarly, the vast majority of the

Debtors' Chefs de Cuisine were internally promoted, and 60% of Senior Leadership team came

to corporate via internal promotions from restaurant manager or Chefs de Cuisine positions. See

Garces Affidavit at ¶7.

   B. Development of the Key Employee Incentive Program

          9.    The Debtors' restructuring efforts began long before the Petition Date. In 2017,

and pursuant to the Debtors negotiations with their lender, the Debtors hired an investment

banker to work on a refinance or sale transaction for the assets. See Garces Affidavit at ¶45.

          10.   In June 2017, the Debtors hired John Fioretti, a seasoned restructuring

professional, to serve as Chief Executive Officer. See Garces Affidavit at ¶47. The Debtors also

recruited a Chief Financial Officer, Chris Kline, who has over 20 years of experience in the

hospitality industry and previously served as the Director of Finance of STARR Catering tasked

with overseeing the Finance/Accounting department. See Garces Affidavit at ¶47.

          11.   Together, the Debtors and their professionals reviewed the Debtors' anticipated

needs throughout the restructuring and/or sale process and began to implement changes

necessary to ensure a successful restructuring and/or sale process that maximizes recoveries for

creditors. As part of that process, the Debtors went through two rounds of reductions in force,

letting go of 16 people in June 2017, in addition to reducing certain salaries, saving

approximately $1.3 million in annualized payroll expense, and letting go of 7 positions during

                                                 3

3939735
Case 18-19054-JNP           Doc 48     Filed 05/07/18 Entered 05/07/18 17:23:46                    Desc Main
                                      Document      Page 4 of 15



the first quarter of 2018, saving another $500,000 annualized. See Garces Affidavit at ¶46.

          12.    The Debtors also considered ways to ensure the commitment of certain key

personnel vital to the Debtors' operations. See Fioretti Certification at ¶4. In concert with their

professionals, the Debtors designed a key employee incentive program (the "KEIP") with the

goal of ensuring effective and stable management of the Debtors' operations in a cost-effective

way in order to maximize the value of the Debtors assets for the benefit of all interested parties.

See Fioretti Certification at ¶4. The KEIP was designed to reduce disruption to employees while

improving morale and incentivizing job performance. See Fioretti Certification at ¶4. Moreover,

the Debtors worked to ensure that the KEIP was competitive within the industry and that the

incentives were appropriate to encourage loyalty by, among other things, reviewing similar

incentive-based programs recently approved in chapter 11 cases. See Fioretti Certification at ¶4.

    C. Description of the Key Employee Incentive Program

          13.    In the summer of 2017, the Debtors began to roll out the KEIP. The agreements

relating to the KEIP are identical except for the names, dates and amounts of the lump sum

bonuses (the "Bonuses"). See Fioretti Certification at ¶5. A redacted KEIP agreement is attached

as Exhibit A to the Fioretti Certification.3

          14.    Currently, there are thirty (30) employees, which are listed in Exhibit B4 to the

Fioretti Certification (the "Program Participants"), whose knowledge and skill have been and

will continue to be essential to maximizing the value of the Debtors' estates. See Fioretti

Certification at ¶6.      The amounts of each of the Bonuses are also redacted, but the most

frequently occurring Bonus amount is $5,000.


3
 Exhibit A has been redacted to remove names, dates and amounts.
4
 Exhibit B has been filed under seal to protect the privacy of the Program Participants and minimize detrimental
impacts on employee morale.

                                                       4

3939735
Case 18-19054-JNP            Doc 48      Filed 05/07/18 Entered 05/07/18 17:23:46                      Desc Main
                                        Document      Page 5 of 15



          15.     Currently, there are thirty (30) employees (the "Program Participants") whose

knowledge and skill have been and will continue to be essential to maximizing the value of the

Debtors' estates. See Fioretti Certification at ¶6. A redacted list of Program Participants is

attached as Exhibit B to the Fioretti Certification.5 The amounts of each of the Bonuses are also

redacted, but the most frequently occurring Bonus amount is $5,000.

          16.     The KEIP provides that the Program Participants would receive a Bonus if and

after certain conditions are satisfied, primary of which is the closing of a financing or sale

transaction. See Fioretti Certification at ¶7. The KEIP also required the Program Participants to

sign the KEIP agreement, not resign employment or be terminated for misconduct or poor

performance and must satisfactorily perform the tasks and responsibility that are assigned. See

Fioretti Certification at Exhibit A.

          17.     The Program Participants are active employees of the Debtors—largely middle

management and not high level executives—who are working hard every day to ensure the

Debtors' success in these cases and ensure the hospitality level and food quality continue to

excel. See Fioretti Certification at ¶8.          Significantly, neither Mr. Garces nor John Fioretti are

Program Participants. See Fioretti Certification at ¶8. A Chief Cultural Officer, Chief Financial

Officer and three (3) Vice Presidents are Program Participants. See Fioretti Certification at ¶8.

Notwithstanding their titles, the Chief Cultural Officer and Chief Financial Officer are the

Debtors' second line of management below Mr. Garces and John Fioretti, and the Vice Presidents

that are Program Participants are a third tier level of management. See Fioretti Certification at

¶8. Thus, although five of the Program Participants have senior titles, these individuals are not


5
 The names and financial incentives of the Program Participants are not included herein to protect the privacy of the
Program Participants and minimize detrimental impacts on employee morale. An unredacted copy of Exhibit B will
be provided to the Court and the U.S. Trustee.

                                                         5

3939735
Case 18-19054-JNP         Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46            Desc Main
                                   Document      Page 6 of 15



persons in control of the Debtors. See Fioretti Certification at ¶8.

          18.   In addition to maintaining most of their normal responsibilities related to the

Debtors' operations, the Program Participants already have, and will continue to, assume

significantly greater responsibilities as a result of these chapter 11 cases. See Fioretti

Certification at ¶9.

          19.   Payments made under the KEIP are necessary to demonstrate consistency and

commitment to the Program Participants, ensure the Program Participants focus their efforts on

the successful operations of the Debtors' businesses, to maximize the recoveries assets, and

minimize operational expenses. See Fioretti Certification at ¶10.          Without the incentives

provided for in the KEIP, the Debtors likely would lose the Program Participants that are most

essential to their efforts and difficult to replace. See Fioretti Certification at ¶10. The Debtors'

ability to maintain their business operations, preserve the value of their assets, and maximize

stakeholder recoveries through a successful and expedient restructuring process hinges on the

Debtors' ability to incentivize and retain key employees during this critical period. See Fioretti

Certification at ¶10. Accordingly, the Debtors approval of the KEIP to motivate key employees

to advance the Debtors' business and restructuring goals during the pendency of these Cases. See

Fioretti Certification at ¶10.

                                     RELIEF REQUESTED

          20.   By this Motion, the Debtors respectfully request entry of an order approving the

KEIP and authorizing the payments thereunder.

                                      BASIS FOR RELIEF

          21.   Bankruptcy Code sections 1107(a) and 1108 authorize a debtor-in-possession to

"use property of the estate in the ordinary course of business without notice or a hearing." The

                                                  6

3939735
Case 18-19054-JNP             Doc 48      Filed 05/07/18 Entered 05/07/18 17:23:46              Desc Main
                                         Document      Page 7 of 15



purpose of section 363(c)(1) of the Bankruptcy Code is to provide a debtor-in-possession with

"flexibility to engage in ordinary transactions" required to operate its business without oversight

by its creditors or the court. See, e.g., In re Roth Am., Inc., 975 F.2d 949, 952 (3rd Cr. 1992)

("Section 363 is designed to strike [a] balance, allowing a business to continue its daily

operations without excessive court or creditor oversight and protecting secured creditors and

other from dissipation of the estate's assets.") (quoting U.S. ex rel. Harrison v. Estate of

Deutscher (In re H&S Transp. Co.), LL5 B.R. 592, 599 (M.D. Tenn. 1990)); In re Nellson

Nutraceutical, Inc., 369 B.R. 7 8'7, 7 9 6 (Bankr. D. Del. 2007). Because the KEIP was

developed pre-Petition Date as part of the Debtors' business plans, continuing to honor the KEIP

is permitted under Bankruptcy Code Sections 363(c), 1107(a) and 1108. Notwithstanding, the

Debtors file this Motion out of abundance of caution.

      A. The KEIP Is Not Subject To The Strict Restrictions Of Section 503(c)(1) Or (2) Of
         The Bankruptcy Code To The Extent The Program Participants Are Not Insiders.

           22.     Section 503(c)(1) of the Bankruptcy Code provides that there shall neither be

allowed, nor paid "a transfer made to, or an obligation incurred for the benefit of, an insider of

the debtor for the purpose of inducing such person to remain with the debtor's business" unless

certain strict and detailed criteria is satisfied.             11 U.S.C. § 503(c)(1) (emphasis added).

Similarly, section 503(c)(2) of the Bankruptcy Code, prohibits severance payments "to an insider

of the debtor" absent strict criteria. 11 U.S.C. § 503(c)(2).6                    Both sections are largely

inapplicable here to the extent the KEIP does not contemplate a transfer to (or an obligation for

the benefit of) an insider.

           23.     Indeed, a plan for the benefit of non-insiders is frequently approved, even if it is a

retention plan. See In re Furniture Brands Int'l, Inc., Case No. 13-12329 (CSS) (Bankr. D. Del.

6
    The Debtors do not seek to make any severance payments in connection with this Motion.
                                                         7

3939735
Case 18-19054-JNP        Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46            Desc Main
                                  Document      Page 8 of 15



Oct. 11, 2013) (approving a retention plan for non-insider employees); In re Circuit City Stores,

Inc., Case No. 08-35653 (KR) (Bankr. E.D. Va. Mar. 25, 2009) (approving a retention plan for

non-insiders); In re KB Toys, Inc., Case No. 08-13269 (KJ) (Bankr. D. Del. Jan. 6, 2009)

(approving a retention plan for non-insider employees); In re Mervyn's Holdings, LLC, Case No.

08-11586 (KG) (Bankr. D. Del. Oct. 30, 2009) (approving a retention plan for non-insiders); see

also In re Linens Holding Co., Case No. 08-10832 (CSS) (Bankr. D. Del. Oct. 21, 2008)

(approving a retention plan for non-insiders).

          24.   The term "insider" is defined as including "if the debtor is a corporation—(i)

director of the debtor; (ii) officer of the debtor; (iii) person in control of the debtor; (iv)

partnership in which the debtor is a general partner; (v) general partner of the debtor; or (vi)

relative of a general partner, director, officer, or person in control of the debtor." 11 U.S.C. §

101(31)(B). It also includes "affiliate, or insider of an affiliate as if such affiliate were the

debtor" and "managing agent of the debtor." 11 U.S.C. § 101(31)(B). Courts have declined to

find insider status where the scope of authority is limited. See In re Borders Grp., Inc., 453 B.R.

459, 469 (Bankr. S.D.N.Y. 2011) (employees not insiders because none of them had authority to

implement company policy, did not report to board of directors and were subordinate to actual

officers). Moreover, courts look passed titles and instead look to the employees' individual

functions and roles. See In re NMI Sys., Inc., 179 B.R. 357, 370 (Bankr. D.D.C. 1995) (finding

that vice president was not insider because he was conferred title "for purposes of marketing"

only and was not "in the inner circle making the company's critical financial decisions."); see In

re Global Aviation Holdings Inc., 478 B.R. 142, 148 (Bankr. E.D.N.Y. 2012) (finding that

director-level employees were not "officers" because none of them were members of board,

participated in corporate governance, attended board meetings or reported to board). Here, the


                                                 8

3939735
Case 18-19054-JNP        Doc 48     Filed 05/07/18 Entered 05/07/18 17:23:46              Desc Main
                                   Document      Page 9 of 15



Program Participants do not take part in the overall management of the Debtors, do not direct or

implement company policy and do not report to the Board of Directors. Therefore, they are not

"insiders."

          25.   Here, the Program Participants are largely middle management and not high level

executives who are working hard every day to ensure the Debtors' success in these cases and

ensure the hospitality level and food quality continue to excel. See Fioretti Certification at ¶8.

For the majority of the Program Participants, it is clear that they are not insiders and that the

KEIP is not prohibited by section 503(c)(1) or (2) of the Bankruptcy Code.               See Fioretti

Certification at ¶8. Moreover, although five (5) of the Program Participants have senior titles (a

Chief Cultural Officer, Chief Financial Officer and three (3) Vice Presidents), these individuals

are not persons in control of the Debtors. See Fioretti Certification at ¶8. Despite their titles, the

Chief Cultural Officer and Chief Financial Officer are the Debtors' second line of management

below the CEO and Mr. Garces. See Fioretti Certification at ¶8. Moreover, the Vice Presidents

that are Program Participants are a third tier level of management. See Fioretti Certification at

¶8. Accordingly, even those persons should not be considered "insiders."

   B. Even If Some Of The Program Participants Were Insiders, The KEIP Is Still Not
      Subject To The Strict Restrictions Of Section 503(c)(1) Because It Is An Incentive
      Plan Instead Of A Retention Plan That Should Be Approved Under Section
      503(c)(3).

          26.   Moreover, even if some of the Program Participants were insiders, the KEIP is

still permissible because while possessing certain "retentive" elements, it is an incentive plan

incorporating performance targets that the employees need to meet before a payout is earned, and

not a retention plan (which are typically based solely on an employee remaining with the

company).



                                                  9

3939735
Case 18-19054-JNP           Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46          Desc Main
                                     Document     Page 10 of 15



                a. The KEIP is an incentive plan.

          27.      Although the Program Participants are encouraged to continue their employment

with the Debtors, that effect does not convert the KEIP into a retention-driven plan. See In re

Global Home Prods., LLC, 369 B.R. 778, 786 (Bankr. D. Del. 2007) (finding that proposed

incentive plans were "primarily incentivizing and only coincidentally retentive" and noting, "The

fact that ... all compensation has a retention element" did "not reduce the Court's conviction" that

the debtors' primary goal in approving the incentive plans was "to create value by motivating

performance"); In re Patriot Coal Corp., 492 B.R. 518, 531 (Bankr. E.D. Mo. 2013) (citations

and quotations omitted) (emphases added) ("Although a purported [incentive plan] may contain

some retentive effect, that does not mean that the plan, overall, is retentive rather than

incentivizing in nature.").

          28.      The Court has approved plans tied to certain targets. See, e.g., In re Longview

Power, LLC, Case No. 13-12211 (BLS) (Bankr. D. Del. Dec. 19, 2013) (approving incentive

payments to senior executives based upon the achievement of certain goals driven by the debtors'

chapter 11 timeline and the desire to limit the costs of the cases); In re Midway Games Inc., Case

No. 09-10465 (KG) (Bankr. D. Del. Apr. 22, 2009) (approving an incentive plan for insiders

based on the achievement of chapter 11 restructuring milestones); In re Muzak Holdings LLC,

Case No. 09-10422 (KJC) (Bankr. D. Del. Feb. 10, 2009) (approving $1.75 million key

employee incentive plan for senior managers); In re AgFeed USA, LLC, Case No. 13-11761

(BLS) (Bankr. D. Del. Aug. 29, 2013) (approving incentive payments to senior management

based upon the success of the debtors' sale process); In re Pope & Talbot, Inc., Case No. 07-

11738 (CSS) (Bankr. D. Del. Apr. 23, 2008) (approving a modified plan based on sales proceeds

performance).


                                                    10

3939735
Case 18-19054-JNP           Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46           Desc Main
                                     Document     Page 11 of 15



          29.      Significantly, the KEIP provides that the Program Participants would receive a

Bonus if and after certain conditions are satisfied, primary of which is the closing of a financing

or sale transaction, which depends largely on the continued efforts of the Program Participants.

See Fioretti Certification at ¶7. The KEIP also required the Program Participants to sign the

KEIP agreement, not resign employment or be terminated for misconduct or poor performance

and satisfactorily perform the tasks and responsibility that are assigned. See Fioretti Certification

at Exhibit A. Accordingly, the KEIP is not simply rewarding the employees' staying power, it is

incentivizing the Program Participants, while also minimizing retention problems, low morale

and low productivity. Accordingly, to the extent the KEIP is found to benefit any insiders, it

should still be approved under section 503(c)(3).

                b. The KEIP Should Be Approved Under Section 503(c)(3).

          30.      Section 503(c)(3) of the Bankruptcy Code requires that transfers or obligations

outside the ordinary course of business to any person or entity, including officers, managers, or

consultants hired post-petition, be "justified by the facts and circumstances of the case." Section

503(c) was added to the Bankruptcy Code in 2005 to "eradicate the notion that executives were

entitled to bonuses simply for staying with the Company through the bankruptcy process." A

court "must examine a proposed [incentive plan] . . . and determine whether the proposed targets

are designed to motivate insiders to rise to a challenge or merely report to work." In re Patriot

Coal Corp., 492 B.R. 518, 531 (Bankr. E.D. Mo. 2013) (citations and quotations omitted). To

determine whether a KEIP is justified by the facts and circumstances, courts use the business

judgment test under Section 363(b)(1).

          31.      The standard for approving payments under section 503(c)(3) is essentially the

same "business judgment" standard for approving similar transactions under section 363(b)(1) of


                                                  11

3939735
Case 18-19054-JNP        Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46            Desc Main
                                  Document     Page 12 of 15



the Bankruptcy Code. See, e.g., In re Nellson Nutraceutical, Inc., 369 B.R. 787, 804 (Bankr. D.

Del. 2007) (holding that, because bonus plan's primary motivation was not retentive, section

503(c)(1) did not apply and business judgment standard was to be used to assess plan); In re

Global Home Prods., LLC, 369 B.R. at 787 (same).

          32.   Courts have routinely approved payments under these plans pursuant to section

363(b) of the Bankruptcy Code as an exercise of the Debtors' business judgment. Section

363(b)(1) of the Bankruptcy Code allows a debtor in possession to use property of the estate

"other than in the ordinary course of business" after notice and a hearing, in the exercise of the

Debtors' business judgment. 11 U.S.C. § 363(b)(1); see also, e.g., In re Martin, 91 F.3d 389, 395

(3d. Cir. 1996) (stating that under normal circumstances, courts will defer to debtor's judgment in

using property under section 363(b) if there is legitimate business justification). Therefore, the

estate's property may be used other than in the ordinary course of business if the debtor can show

a "sound business purpose" for such use. See In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir.

1983) ("[t]he rule we adopt requires that a judge determining a §363(b) application expressly

find from the evidence presented before him [supports a] good business reason to grant the

application."); In re Del. Hudson Ry. Co., 124 B.R. 169, 179 (Bankr. D. Del. 1991). If a debtor

shows a valid business purpose, the court applies the "business judgment rule," a presumption

"that in making a business decision, the directors of a corporation acted on an informed basis, in

good faith and in the honest belief that the action taken was in the best interest of the company."

Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985).

          33.   Applying the business judgment rule in chapter 11 cases, courts have routinely

permitted employee payments that are outside the normal course of business. See, e.g., Dai-Ichi

Kangyo Bank Ltd. v. Montgomery Ward Holding Corp. (In re Montgomery Ward Holding


                                                12

3939735
Case 18-19054-JNP        Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46             Desc Main
                                  Document     Page 13 of 15



Corp.), 242 B.R. 147, 153-55 (D. Del. 1999) (affirming bankruptcy court's authorization of key

employee compensation program, holding "[i]n determining whether to authorize the use, sale, or

lease of property of the estate under [section 363(b)], courts require the debtors to show that a

sound business purpose justifies such actions"); In re Global Home Prods., 369 B.R. at 784

("The reasonable use of incentives and performance bonuses are considered the proper exercise

of a debtor's business judgment."); see also In re Martin, 91 F.3d at 395 (citing Fulton State

Bank v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir. 1991)).

          34.   Granting the relief requested herein and approving the KEIP is necessary to

maximize the value of the Debtors' estates and is appropriate under the circumstances. It also

represents a sound business purpose and satisfies the business judgment rule. The Program

Participants have worked hard to bring the Debtors to this point, but there remains a significant

amount of work required in connection with the contemplated sale of the Debtors' assets. Given

the recent filings and negative press, it is crucial that the Debtors maintain the loyalty of these

key employees and incentivize them to deliver their best performance throughout these cases—

particularly given that the loss or demoralization of any of the Program Participants at this

critical juncture will likely reduce the value of the Debtors' assets and disrupt the sales process.

The focus and attention that the Program Participants bring to their tasks as these chapter 11

cases proceed will have a meaningful impact on creditor recoveries in these cases and

incentivizing their performance via the KEIP will maximize value for creditors.

                          WAIVER OF MEMORANDUM OF LAW

          35.   Because the legal basis upon which the Debtors rely is incorporated herein and

the Motion does not raise any novel issues of law, the Debtors respectfully request that the Court

waive the requirement to file a separate memorandum of law pursuant to Local Rule 9013


                                                13

3939735
Case 18-19054-JNP         Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46           Desc Main
                                   Document     Page 14 of 15



1(a)(3).

                  WAIVER OF BANKRUPTCY RULES 6004(a) AND 6004(h)

          36.    The Debtors seek a waiver of the notice requirements under Bankruptcy Rule

6004(a) and a waiver of any stay of the order proposed herein, including under Bankruptcy Rules

4001(a)(3) and 6004(h).

                                      NO PRIOR REQUEST

          37.    No prior request for relief sought herein has been made to this Court or any other

court.

                                             NOTICE

          38.    By separate application filed simultaneously herewith, the Debtors have requested

that the Court shorten the notice period and enter an order shortening time for the hearing on the

Motion.

          39.    The Debtors respectfully request they be authorized to provide notice pursuant to

the Order Shortening Time Period, Setting Hearing and Limiting Notice entered by the Court for

this Motion. The Debtors believe that such notice to such parties is reasonably calculated to

inform creditors regarding the emergency relief that is being requested and is sufficient under the

circumstances.




                                                 14

3939735
Case 18-19054-JNP         Doc 48    Filed 05/07/18 Entered 05/07/18 17:23:46           Desc Main
                                   Document     Page 15 of 15



                                        CONCLUSION

          For the foregoing reasons, the Debtors respectfully request entry of the accompanying

Order in the form annexed hereto, and for such other and further relief as is just and proper.

Dated: May 7, 2018                           Respectfully submitted,

                                             PORZIO, BROMBERG & NEWMAN, P.C.
                                             Proposed Counsel to the Debtors


                                             By: /s/ Kelly D. Curtin.
                                                     Kelly D. Curtin




                                               15

3939735
